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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Ashley Vela
                                 Plaintiff,
v.                                                     Case No.: 1:21−cv−00703
                                                       Honorable Steven C. Seeger
ITX Healthcare, LLC
                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 9, 2021:


         MINUTE entry before the Honorable Steven C. Seeger: The Court reviewed the
complaint, which advances a claim under the Fair Debt Collection Practices Act. Plaintiff
basically alleges that she incurred a debt (apparently owed to Northwestern Medicine) that
she could not pay, and the debt went into default. Defendant ITX Healthcare, a debt
collector, later sent her a collection letter. The letter disclosed that ITX Healthcare was
attempting to collect a debt, and that it had "received [her] account from Northwestern
Medicine." See Cplt., at para. 17 (Dckt. No. 1−1, at 7 of 13). Plaintiff "believed that ITx
Healthcare was a medical provider," and that it was "attempting to collect a medical debt
from her that it owned." The Court has serious questions about whether Plaintiff has
suffered an injury in fact and thus has standing under the Seventh Circuit's recent case
law. See, e.g., Nettles v. Midland Funding LLC, 2020 WL 7488610 (7th Cir. 2020)
(addressing standing under the FDCPA); Bazile v. Fin. Sys. of Green Bay, Inc., 2020 WL
7351092 (7th Cir. 2020) (same); Spuhler v. State Collection Service, Inc., 2020 WL
7351098 (7th Cir. 2020) (same); Brunett v. Convergent Outsourcing, Inc., 982 F.3d 1067
(7th Cir. 2020) (same); Gunn v. Thrasher, Buschmann & Voelkel, PC, 982 F.3d 1069 (7th
Cir. 2020) (same); Larkin v. Fin. Sys. of Green Bay, Inc., 982 F.3d 1060 (7th Cir. 2020)
(same). It is unclear how, exactly, Plaintiff allegedly suffered an injury in fact. The
complaint alleges that Plaintiff received a letter, and that an "unsophisticated consumer
would believe the Letter was attempting to collect a debt owned by ITx Healthcare." But
in reality, the "current creditor of the alleged debt is not ITx Healthcare." So the theory
seems to be that the letter suggested that ITx Healthcare was the creditor, but in reality, it
was not the creditor. Even so, it does not appear that Plaintiff acted on the letter to her
detriment in any way. She does not allege that she paid a debt that was not owed, or paid a
debt prematurely, or did anything else that caused an injury. Maybe Plaintiff was
confused, but confusion doesn't count. In particular, in Brunett, the Seventh Circuit held
that "the state of confusion is not itself an injury." See Brunett, 982 F.3d at 1068.
Confusion is a part of life; it is not an injury in fact. "If it were, then everyone would have
standing to litigate about everything." Id. The fact that "[Plaintiff's] confusion led [him] to
hire a lawyer does not change the evaluation." Id.; see also id. ("A desire to obtain legal
advice is not a reason for universal standing."). Simply put, "[t]alk is cheap, but where's
the concrete harm?" Id. By February 24, 2021, Plaintiff must file a statement and show
cause why the case should not be dismissed for lack of standing. A failure to comply may
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lead to dismissal. Mailed notice. (jjr, )




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